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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

MDL NO, 2179

IN RE: OIL SPILL by the OIL RIG
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on :
APRIL 20, 2010 ; SECTION: J

JUDGE BARBIER
MAG. JUDGE SHUSHAN

THIS DOCUMENT RELATES TO 10-1759
ORDER
Before the Court is Plaintiff State of Louisiana’s Motion to

Remand, In re: Deepwater Horizon, 10-CV-1156 (Rec. Boc. 304) and

Defendant BP’s Memorandum in Oppesition, In re: Deepwater

Horizon, 10-CV-1156 (Rec. Doc. 401).
PROCEDURAL HISTORY AND BACKGROUND FACTS

On May 17, 2010, the State of Louisiana filed suit against
BP Exploration & Production Inc., BP PLC, BP Products North
America, Inc., and BP America, Inc. (collectively “Defendants”}
in the 32nd Judicial District Court for the Parish of Terrebonne,
State of Louisiana, In its complaint, Plaintiff alleged that
Defendants have killed, caught, taken, possessed or injured fish,
wild birds, wild quadruped, and other wildlife and aquatic life

in viclation of Louisiana State Law. Specifically, Plaintiff

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alleged that Defendants owned and operated a Minerals Management
Services Mineral Lease in the Gulf of Mexico. According to
Plaintiff, Defendants failed to comply with applicable statutes
and regulations governing the exploration and production of
minerals or with the regulations governing the removal and
remediation of the discharged contaminants. Plaintiff alleged
that Defendants’ failure to comply with applicable statutes
resulted in an April 20, 2010 explosion aboard the Deepwater
Horizon, a mobile offshore drilling rig, resulting in the release
of oil, other minerals, and contaminants inte the Guif of Mexico.
Plaintiff further alleged that the oil spill was not timely
contained and therefore, oil and other contaminants entered into
the waters of the State of Louisiana ~ inflicting death and
injury to Louisiana aquatic life and wildlife.

In its complaint, the State asserted only e cause of action
under La. Rev. Stat. Ann. § 56:40.1 et seq. and specifically
stated, “(njlotwithstanding any language in this petition to the
contrary, plaintiff dees not plead, and will never at any time in
the future plead, any claim or cause of action arising under any
federal law, and asserts no such claims or cause of action
herein.” Nevertheless, on June 17, 2019, Defendants removed this
matter te the Eastern District of Louisiana, claiming that this
court has original subject matter jurisdiction over the

litigation pursuant te 43 U.S.C. § 21349{>} (1) (a). Defendants
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also claim that this court has original subject matter
4urisdiction under 28 U.S.C. § 1331 because Blaintiff’s claims
arise under federal statutes, namely, the Outer Continental Shelf
Lands Act, 43 U.S.C. § 1331 et seg.

Plaintiff has filed the current motion to remand, alleging
that this matter was improperly removed. After reviewing the
motion and the applicable law, this court finds as follows:

THE PARTIES’ ARGUMENTS

Plaintiff argues that it did not allege any federal claims

in its complaint and therefore, according to the well-pleaded

complaint rule, removal is improper. Plaintiff also argues that
no federal statute provides this court with jurisdiction in this
matter, Further, Plaintiff argues that even if this court has
jurisdiction, the Eleventh Amendment to the United States
Constitution prevents removal. Alternatively, Plaintifi ciaims
that this case involves general maritime law claims, and
therefore, removal is not proper because the claims do not arise
under the laws of the United States. Finally, Plaintiff arcues
chat this court should sanction Defendants for improperly
reroving this matter to federal court.

Defendants argue that € 1349 of the Outer Continental Shelf
Lands Act (OCSLA) clearly supports this Court’s original subject
matter jurisdiction. Defendants further argue that Plaintiff’s

claims regarding the well-pleaded complaint rule, Eleventh

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Amendment immunity, and admiraity jurisdiction are frivolous.
Therefore, Defendants urge this court to deny Plaintiff's motion
to remand and Plaintiff's request for sanctions.
DISCUSSION

Generally, a defendant may remove a civil action filed in
state court if a federal court would have original jurisdiction
over the action. See 28 U.S.C. § 1441. Once a motion to remand
has been filed, the burden is on the defendant to prove, by 4
preponderance of the evidence, that federal jurisdiction exists.

De Aguilar v. Boeing Co., 47 F.3a 1404, 1412 (5th Cir. 1995).

The jurisdictional facts supporting removal are examined as of

the time of removal. Gebbia v. Walmart Stores, Inc., 233 F.3d

6880, $83 (Sth Cir. 2000). The removal statutes should he

strictly construed in favor of remand. Manguno v. Prudential

Property and Cas, Ins. Co., 276 F.3d 729, 723 (5th Cir. 2002).

I. Well-Pleaded Complaint Rule

The well-pleaded complaint rule provides that “federal
turisdiction exists only when a federal question is presented on
the face of the plaintiff's properly pleaded complaint.”

Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987). The

rule governs whether a claim arises under federal law so as to
confer federal question jurisdiction under 28 U.S.C. § 1331 and

is based on the theery that the plaintifi is “the maste

complaint,” Medina v. Ramsey Steel Co...

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(5th Cir. 2001) (citing Carpenter v. Wichita Fails Indep. Sch,

Dist., 44 F.3d 362, 366 (Sth Cir, 1995)}. As such, “{a]
determination that a cause of action presents a federal question
depends upon the allegations of the plaintiff's well-pleaded
complaint.” Medina, 238 F.3d at 680. Accordingly, under the
well-pleaded complaint rule, when a@ plaintiff has a choice
between federal and state law claims, she may proceed in state
court “on the exclusive basis of state law, thus defeating the
defendant's opportunity to remove.” Id.

However, the well-pleaded complaint rule only applies to
removal based on 28 U.S.C. § 1321 (statutory “arising under”

cases}. Am. Nat'l Red Cross ¥,.8.G., 505 U.S. 247, 258 (1992),

Altheugh in their notice of removal, Defendants claim that this
Court has original subject matter jurisdiction under 28 U.S.C. §
1331, Defendants also assert that this Court has criginal
jurisdiction under 43 U.S.C. § 1349. Therefore, although
Plaintiff is correct in arguing that the well-pleaded complaint
rule prevents Defendants from removing this matter on the basis
of 28 U.S.C. § 1331, there is nothing preventing Defendants from
removing this matter based on an assertion of jurisdiction under
43 U.S.C. § 1349. Therefore, if this Court finds that
jurisdiction exists pursuant to 43 U.S.C. § 1349, Plaintiff is

act in arquing that the well-pleaded complaint rule serves

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&@S a€& bar to removal.
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II. OCSLA Jurisdiction Pursuant to § 1349

Defendants assert that this Court has original Jurisdiction

under § 1349, Section 1349(b) (1) states:

the district courts of the United States shall have
jurisdiction of cases and controversies arising out of,
ox in connection with (A) any operation conducted on the
outer Continental Shelf which involves exploration,
development, or production of the minerals, of the
subsoil and seabed of the outer Continental Shelf, or
which involves rights to such minerals, or (B) the
cancellation, suspension, or termination of a lease or
permit under this subchapter.

43 U.S.C, § 1349(b) (1). The Fifth Circuit has held that the
jurisdictional grant contained in § 1349(b} (1) is very broad.

Tenn. Gas Pineline v. Houston Cas, Ins, Co., 87 F.3d 150, 154

(Sth Cir. 1996); see also EP Operating Ltd. P'ship v. Placid Oil

Co., 26 F.3d 563, 569 (Sth Cir, 1994) (stating that a “bread
reading of the jurisdictional grant of section 134¢ is supported
by the expansive substantive reach of the OCSLA”). In deciding
whether § 1349(b) (1) grants a court jurisdiction, courts

routinely perform a two part analysis. See, ¢.g., Recar v. CNG

Producing Co,, 853 F.Zd 367, 369-76 (Sth Cir. 1988}; Tenn. Gas

Pipeline, 87 F.3d at 154-55; EP Gperating Ltd. P’ ship, 26 F.3d 4%

First, courts determine whether the activities that caused
che injury can be classified as an “operation conducted on the
euter Continental Shelf” and whether that “operation” involved

the exploration ox production of minerals. 43 U.8.C,. §

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1349(6) (1}. While the statute does not define “operation,” the
Fifth Circuit has broadly defined the term, stating that
operation is “the doing of some physical act.” Tenn. Gas
Pipeline, 87 F.3d at 154. The Fifth Circuit has provided further
guidance on the interpretation of the term by stating that
“operation involves exploration, development, or the production
of minerais on the OCS” and by clarifying that “[t]hese terms
denote respectively the processes involved in searching for
minerals on the OCS; preparing to extract them by, inter alia,
drilling wells and constructing platforms; and removing the
minerals and transferring them to shore.” Id. Given this broad
definition of operation, it is clear that Defendants’ activities
qualify as an operation. Defendants were exploring and producing
minerals, namely oil, from the outer Continental Shelf. It is
these activities that allegedly caused the April 20, 2010
explosion and the resulting oil spill. For these reasons, this
Court finds that Defendants’ activities should be classified as
an “operation conducted on the outer Continental Shelf, which
involved the exploration and production of minerals.” Therefore,
Defendants were conducting an operation as defined under § 1349.
Seconda, courts focus on whether the case and controversy

“arises out of, or in connection with the operation.” ‘This

phrase, which is “undeniably broad in scope,” EP Operating Ltd.

Piship, 26 F.3d at 569, has been analyzed using a “but-for” test;
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i.e., but for the operation, would the case or controversy have
arisen. Here, Plaintiff argues that it was injured by
Defendants’ “illegal killing, catching, taking, possessing, or
injuring of wildlife and aquatic life in Terrebonne Parish
resulting from oil and/or other contaminants entering into the
territorial waters of and onto land located in the State of
Louisiana.” 10-CV-1759 {Rec. Doc. 1-2}. Plaintiff's theory of
Liability is based on Defendants’ alleged negligent actions
during the drilling and exploration operation. These facts
clearly satisfy the “but-for” test because the oil and other
contaminants would not have entered into the State of Louisiana’s
territorial waters “but for” Defendants’ drilling and exploration
operation. Accordingly, it is clear that original jurisdiction

rests with this Court pursuant to § 1349{(b)(1).°

'Dlaintiff’s arguments related to OCSLA § 1333 is not
applicable to whether this Court has jurisdiction in this matter.
“The Supreme Court and the Fifth Circuit have held that § 1233
creates a situs requirement for the application of other sections
of the OCSLA.” Landry v. Island Operating Co. Inc., Civ. A. No.
09-1051, 2009 WL 3241560, *2-3 (W.D. La. Sept. 30, 2009) (citing
Offshore Logistics, Inc. v. Tallentire, 477 U,S, 207, 219 (1986);
Demetie v. Falcon Drilling Co., Inc., 280 F.3d 492, 496 (Sth Cir.
20023). However, although the Fifth Circuit has discussed § 1333
and its situs requirement in relation to § 1349, See Golden v.
OMNE Energy Services Gorp., 242 Fed. Appx. 965, 967 (Sth Cir.
2007), neither the Supreme Court nor the Fifth Circuit nas held
that the situs requirement has to be satisfied for jurisdiction
to be proper under § 1349, As stated above, the Fifth Circuit
generally focuses on the “operation” and the “but-for” test to
aetermine if jurisdiction exists under § 1349.

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TIl. Admiralty Jurisdiction

Plaintiff arques that even if § 1349(b} (1) gives this court
original jurisdiction over this matter, maritime law requires
this case to be remanded. Title 28 U.S.C, § 1441 (b) states that
“any civil action of which the district courts have original
jurisdiction founded on a claim or right arising under the
laws of the United States shall be removable.” “Any other such
action shall be removable only if none of the parties in interest
preperly joined and served as defendants is a citizen of the
State in which such action is brought.” 28 U.S.C. § 1441{b), Tt
is well settled that maritime Law claims do not arise under the
laws of the United States. It is therefore true that unless a
defendant is not a citizen of the state in which the action was
brought, § 1441(b) dees not allow maritime law claims to be
removed to federal court. This is true even if the court has
both OCSLA and admiralty jurisdiction because the Fifth Circuit
has not determined that finding that a court has OCSLA
jurisdiction is synenymous with finding that a plaintiff’s claim

arises under the laws of the United States. See Tenn. Gas

Pipeline, 87 F.3d at 156; See also Walsn v. Seaguil Energy

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Cerporation, 836 F. Supp. 411, 417-18 (S.D. Tex, 1993); Rives v.

Energy Partners of Delaware, No. Civ. A, 99-2742, 2000 WL 127290,

*5 (ELD. ba. Feb. i, 2000} (stating “the Fifth Circuit has never

held chat where OCSLA and general maritime law overlap, the case

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is removable without regard to citizenship’); 28 U.S.C. §
14415). Nevertheless, Defendants in this matter are not
citizens of Louisiana (the state in which the action was
brought). Therefore, because this court has original
jurisdiction under § 1349(b) {1}, it does not matter whether
Plaintiff’s claims do not arise under laws of the United States.
This matter is removable because “none cf the parties in interest
properly joined and served as defendants is a citizen of the
State in which such action is brought.” 28 U.S.C. § 1441 {b}.

The remainder of Plaintiff's arguments related to admiralty
jurisdiction are premised on what law should apply. Despite
Plaintiff’s claims, nothing Plaintiff cites indicates that a
discussion of these issues would have any bearing om whether this
Court has jurisdiction over this matter. Further, having
determined that a decision that admiralty jurisdiction applies
would not affect Court’s jurisdiction determination, a@ decision
on whether state, admiralty, or other law applies does not need
to be addressed at this time.

IV. EHieventh Amendment Immunity

Notwithstanding that this Court has original jurisdiction

under § 1349(b} (1), the State argues that the Eleventh Amendment

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precludes Defendants from removing this case to federel court.

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Plaintiff correctly argues that the scope of sovereign immunity

is broader than the Eleventh Amendment’s text and that courts

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should net be confined by the Amendment’s definition of immunity.

See Seminole Tribe of Florida v. Florida, 517 U.S. 44, 69 (19946)

(stating courts should be cautioned against “blind reliance upon

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the text of the Eleventh Amendment’); Alden v. Maine, 527 U.S

706, 726-29 (1999) (stating the amendment merely confirmed,
rather than established, the principle of sovereign immunity);

Federal Maritime Commission v. South Carolina State Ports

Authority, 535 U.S. 743, 753 (2002) (stating the Eleventh
Amendment is but one particular exemplification of sovereign
immunity}. However, Plaintiff's suggestion that sovereign
immunity should not depend on whether the State appears as 4
plaintiff or a defendant is far reaching.

Although the Fifth Circuit has not cirectly addressed this
issue, the court has indicated that it supports the notion that
the Eleventh Amendment does not apply to the removal context when

the Slate is a Plaintiff. See Huber, Hunt & Nichois, Ine. v.

Architectural Stone Co., 625 F.2d 22, 24 n.6 (Sth Cir. 1980

{stating in a footnote that the Eleventh Amendment is

inapplicable where a state is a plaintiff}; Louisiana ex rel,

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Caldwell v. Allstate Ins. Co., S36 F.3d 418, 432 n.i2 (Sth Ci

2008} (stating, “consistent with Supreme Court precedent,” a

number of circuit courts have interpreted the Eleventh Amendment
as applicable only when a state is a defendant}. Further, many

circuits follow this logic. See, e.g., California ex rel.

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Lockyer v. Bynergy, Inc., 375 F.3d 831, 848 (Sth Cir. 2004);

Oklahoma ex rel. Edmondson v. Magnolia Marine Transp. Co., 359

F.3d 1237, 21239 (10th Cir. 2004); Begents of the Univ. Of

California v. Eli Lilly € Co,, 2119 F.3d 1559, 1564-65 (Fed. Cir.

1997}. Nevertheless, Plaintiff asks this Court to rely on Moore

v. Abbott Laboratories, Ine., 900 F. Supp. 26, 30 (S.D. Miss.

1995}, a district court case in which the court found that by
removing the Litigation to federal court, the defendants
involuntarily subjected the State of Mississippi to the
jurisdiction of the court, and therefore, the removal violated
the State’s Eleventh Amendment Sovereign Immunity. Id.

This Court finds Moore to be unpersuasive for two reasons.

First, as discussed above, the Fifth Circuit has clearly
indicated that it does not support such a broad interpretation of
the Bleventh Amendment. Second, Moore relied on @ single

district court case, California v. Steelcase Inc., 792 F. Supp.

64 (C.D. Cal. 19923, in reaching its holding. In Steelcase, a
Central District of California court held thas “the immunity
granted by the Eleventh Amendment is an immunity from being made
an involuntary party te an action in federal court, [therefore!}
ait should apply equally to the case where the state is a
plaintiff in an action commenced in state court and the action is

removed to federal court.” However, Steelcase has been expressly

aeemed unpersuasive by the Ninth Circuit. California v. Dynerdy,

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Inc., 375 F.3d 631, 848 (9th Cir. 2003)" {holding that a state
invoke the Eleventh Amendment when the defendant seeks removal to
a federal court of competent jurisdiction). For these reasons,
this Court finds that Moore is unpersuasive and that the Eleventh
Amendment is net a bar to removal in this matter.
CONCLUSION

Based on the foregoing discussion, this Court finds that it
has original jurisdiction under 43 U.S.C. § 1349, and that
neither the well-pleaded complaint rule, the Eleventh Amendment,
nor admiralty jurisdiction serves as a bar to removal in this
matter. Accordingly, IT IS ORDERED that Plaintiffi’s Motion to

Remand, In re: Deepwater Horizon, LO-CV-1156 (Rec. Doc. 304) is

hereby DENIED.

New Orleans, Louisiana, this _Sth day of _October_, 2010.

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UNTTED ST2 DISTRICT JUDGE

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"rhe Ninth Circuit also expressly stated that Moore was
unpersuasive., Dyneray, Tnc., 375 F.3d at 849, «15,

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